            Case 4:15-cv-40168-TSH Document 34 Filed 09/23/16 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS


PATRICIA CABORN                             )
                                            )
                Plaintiff                   )
                                            ) Case No.: 4:15-cv-40168-DHH
       v.                                   )
                                            )
PORTFOLIO RECOVERY                          )
                                            )
ASSOCIATES, LLC.,
                                            )
              Defendant
                                            )

                               NOTICE OF SETTLEMENT


TO THE CLERK:

                NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The parties anticipate filing a stipulation of dismissal of this

action with prejudice pursuant to Fed. R. Civ. P. 41(a) within sixty (60) days .




Dated: September 23, 2016                 BY: /s/ Craig Thor Kimmel
                                          Craig Thor Kimmel, Esquire
                                          Kimmel & Silverman, P.C.
                                          30 E. Butler Avenue
                                          Ambler, PA 19002
                                          Phone: (215) 540-8888
                                          Facsimile: (877) 788-2864
                                          Email: kimmel@creditlaw.com
                                          Attorney for the Plaintiff
         Case 4:15-cv-40168-TSH Document 34 Filed 09/23/16 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 23rd day of September, 2016, a true and correct copy of the

foregoing pleading was served via ECF to the below:


Ranen S. Schechner
Hinshaw & Culbertson LLP
28 State Street
24th Floor
Boston, MA 02109
617-213-7034
617-213-7001 (fax)
rschechner@hinshawlaw.com

Andrew M. Schneiderman
Hinshaw & Culbertson LLP
28 State Street
24th Floor
Boston, MA 02109
617-213-7000
617-213-7001 (fax)
aschneiderman@hinshawlaw.com

Dated: September 23, 2016                    BY: /s/ Craig Thor Kimmel
                                             Craig Thor Kimmel, Esquire
                                             Kimmel & Silverman, P.C.
                                             30 E. Butler Avenue
                                             Ambler, PA 19002
                                             Phone: (215) 540-8888
                                             Facsimile: (877) 788-2864
                                             Email: kimmel@creditlaw.com
                                             Attorney for the Plaintiff
